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In re:                                             UNITED STATES BANKRUPTCY COURT
                                                   DISTRICT OF NEW JERSEY
ROSA M. LOPEZ,                                     NEWARK VICINAGE

                       Debtor.                     Chapter 7

                                                   Case No.: 19-12239 RG

                                                   NOTICE OF MOTION TO CONVERT
                                                   CASE TO CHAPTER 13


         PLEASE TAKE NOTICE that the undersigned, attorneys for the Debtor, Rosa M. Lopez,

will apply to the above-named Court at the U.S. Bankruptcy Court House, Martin Luther King,

Jr., Federal Building & Courthouse, 50 Walnut Street, 3rd Floor, Newark, New Jersey, in

Courtroom #3E, on June 10, 2019 at 10:00 A.M., or as soon thereafter as counsel may be heard,

for an Order Converting Case to Chapter 13.

         TAKE FURTHER NOTICE that if you contest to this hearing, you must appear in Court

on the date noted above and you are further required to file with the Court and serve on the

undersigned a written response, in accordance with Rules of Court, no later than seven (7) days

prior to the hearing date set forth herein. If a written response is not served and filed, the Court

will treat this Motion as uncontested and may not conduct a hearing.

Dated: May 14, 2019                                  By: /s/ Steven A. Serna
                                                     Steven A. Serna, Esq.
                                                     Attorney for Debtor
